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                                       Senior Care Living VII, LLC                                               6/2/2022


                                       Bank Reconciliation Report
                                                  5/31/2022
                                                             0826

                                        Posted by: vslaa3 on 6/2/2022



Balance Per Bank Statement as of 5/31/2022                                                         700,025.49
Outstanding Checks

Check Date              Check Number      Payee                                                        Amount
2/18/2022                    3843         blue1092 - Bluestone Pools, LLC                              541.25
2/18/2022                    3847         secu1080 - Secure Personal Care LLC                         4,318.88
2/18/2022                    3852         welc1305 - Welcome Home Software, Inc                        425.00
2/25/2022                    3862         home1384 - The Home Depot Pro                                469.30
2/25/2022                    3863         mcke4786 - McKesson Medical - Surgical                      1,733.41
2/25/2022                    3865         ster1197 - Stericycle, Inc.                                  189.22
4/21/2022                    3978         magn1019 - Magnolia Fisheries                                352.52
5/4/2022                     4021         hdsu1150 - HD Supply Facilities Mtnce, Ltd                   198.68
5/27/2022                    4034         accu1339 - Accushield, LLC                                   999.93
5/27/2022                    4035         airg1857 - Airgas USA, LLC                                    31.35
5/27/2022                    4036         alle1602 - Allegra                                           111.99
5/27/2022                    4037         apla1267 - A Place For Mom, Inc.                            3,500.00
5/27/2022                    4038         aqua1057 - Aquarium Environments, Inc. dba Fish              605.11
                                          Gallery
5/27/2022                    4039         arro1050 - Arrow Exterminators Inc.                          433.01
5/27/2022                    4040         blue1092 - Bluestone Pools, LLC                              722.03
5/27/2022                    4041         care1374 - CareNow                                            68.00
5/27/2022                    4042         cawl1221 - The Cawley Company                                 84.66
5/27/2022                    4043         comp1698 - Complete Sign Solutions, LLC                      462.24
5/27/2022                    4044         ecol1087 - Ecolab Inc.                                       103.25
5/27/2022                    4045         gree1459 - Green Pride Landscaping                          4,221.75
5/27/2022                    4046         guar1601 - Guardian Pharmacy of Texas                        850.06
5/27/2022                    4047         hdsu1150 - HD Supply Facilities Mtnce, Ltd                   124.62
5/27/2022                    4048         home1384 - The Home Depot Pro                               1,167.89
5/27/2022                    4049         john1072 - Seth Johnston                                     200.00
5/27/2022                    4050         koni1312 - Konica Minolta Business Solutions USA Inc         821.85
5/27/2022                    4051         magn1019 - Magnolia Fisheries                                540.59
5/27/2022                    4052         mcke4786 - McKesson Medical - Surgical                      1,872.34
5/27/2022                    4053         mood1272 - Muzak LLC                                          91.01
5/27/2022                    4054         occu1001 - Occupational Health Centers of the               3,688.00
                                          Southwest, P.A.
5/27/2022                    4055         ourp1911 - Our Place - Tuxedos & Uniforms                    793.28
5/27/2022                    4056         poin1267 - PointClickCare Technologies Inc.                 1,420.48
5/27/2022                    4057         silv1114 - Silversphere, LLC                                  24.00
5/27/2022                    4058         stap1384 - Staples                                           101.68
5/27/2022                    4059         star1086 - Star Local Media                                 2,950.00
5/27/2022                    4060         thys1132 - TK Elevator Company                               737.91
5/27/2022                    4061         uhc1336 - United Healthcare Insurance Co.                  17,101.87
5/27/2022                    4064         will1028 - Lori Williams - Senior Services, LLC             2,500.00
Less:              Outstanding Checks                                                               54,557.16



Other Items

Date                                      Notes                                                        Amount
3/25/2022                                 Payroll JE 2 HSA                                              -77.60
4/11/2022                                 Payroll JE 2 HSA                                              -77.60
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                                      Senior Care Living VII, LLC                                                                    6/2/2022


                                     Bank Reconciliation Report
                                                  5/31/2022


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Other Items

Date                                      Notes                                                                  Amount
5/6/2022                                  Payroll JE 2 HSA                                                        -77.60
Plus/Minus:        Other Items                                                                                  -232.80
                   Reconciled Bank Balance                                                                   645,235.53



Balance per GL as of 5/31/2022                                                                               645,235.53
                   Reconciled Balance Per G/L                                                                645,235.53



Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                           0.00




Cleared Items:


Cleared Checks

Date               Tran #                 Notes                                                     Amount            Date Cleared
2/25/2022                    3854         airg1857 - Airgas USA, LLC                                          30.64           5/4/2022
4/8/2022                     3948         90020697 - Knox                                                4,764.97            5/10/2022
4/8/2022                     3954         hdsu1150 - HD Supply Facilities Mtnce, Ltd                          84.22           5/2/2022
4/21/2022                    3969         airg1857 - Airgas USA, LLC                                          32.23           5/4/2022
4/21/2022                    3970         aqua1057 - Aquarium Environments, Inc. dba Fish                    388.62           5/3/2022
                                          Gallery
4/21/2022                    3971         arro1050 - Arrow Exterminators Inc.                                108.26           5/4/2022
4/21/2022                    3972         blue1092 - Bluestone Pools, LLC                                1,037.52            5/23/2022
4/21/2022                    3973         comm1775 - Commercial Safety Systems, LLC                      1,167.37             5/2/2022
4/21/2022                    3974         ecol1087 - Ecolab Inc.                                         1,109.63             5/2/2022
4/21/2022                    3975         edel1093 - Frank P. Edelmann                                       100.00           5/3/2022
4/21/2022                    3976         gree1459 - Green Pride Landscaping                             4,221.75             5/3/2022
4/21/2022                    3977         liqu1373 - Liquid Environmental Solutions of Texas, LLC            399.63           5/4/2022
4/21/2022                    3979         mcke4786 - McKesson Medical - Surgical                               8.93           5/3/2022
4/21/2022                    3980         occu1001 - Occupational Health Centers of the                      490.00           5/3/2022
                                          Southwest, P.A.
4/21/2022                    3981         powe1701 - PowerSecure, Inc                                    1,230.59             5/4/2022
4/21/2022                    3982         seni1001 - Senior Living Specialists, LLC                      7,000.00             5/3/2022
4/21/2022                    3983         song1051 - Songs & Smiles                                          250.00           5/4/2022
4/21/2022                    3984         uhc1336 - United Healthcare Insurance Co.                     17,070.47             5/5/2022
4/29/2022                    3987         emp-5629 - Veronicah Kimolya                                       919.24          5/16/2022
4/29/2022                    3988         apla1267 - A Place For Mom, Inc.                               7,000.00            5/10/2022
4/29/2022                    3989         aqua1057 - Aquarium Environments, Inc. dba Fish                    162.36           5/9/2022
                                          Gallery
4/29/2022                    3990         arro1050 - Arrow Exterminators Inc.                                324.75          5/10/2022
4/29/2022                    3991         care1374 - CareNow                                             1,085.00             5/9/2022
4/29/2022                    3992         cawl1221 - The Cawley Company                                       67.78          5/11/2022
4/29/2022                    3993         clar1602 - Clark Food Service Equipment                            727.32          5/10/2022
4/29/2022                    3994         comm1775 - Commercial Safety Systems, LLC                      1,167.37            5/10/2022
4/29/2022                    3995         ecol1087 - Ecolab Inc.                                             103.25          5/10/2022
4/29/2022                    3996         fron1765 - Frontier Lighting, Inc.                                 109.03           5/9/2022
4/29/2022                    3997         fun1463 - Fun Express, LLC                                          16.58          5/11/2022
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                                      Senior Care Living VII, LLC                                                            6/2/2022


                                      Bank Reconciliation Report
                                                   5/31/2022


                                       Posted by: vslaa3 on 6/2/2022
Cleared Checks

Date              Tran #                 Notes                                             Amount             Date Cleared
4/29/2022                    3998        home1384 - The Home Depot Pro                          1,934.90           5/11/2022
4/29/2022                    3999        jagu1396 - Jaguar Fueling Services LLC                 2,239.03           5/12/2022
4/29/2022                    4000        mcke4786 - McKesson Medical - Surgical                 2,018.86           5/10/2022
4/29/2022                    4001        mood1272 - Muzak LLC                                        91.01         5/11/2022
4/29/2022                    4002        occu1001 - Occupational Health Centers of the              770.00         5/12/2022
                                         Southwest, P.A.
4/29/2022                    4003        ourp1911 - Our Place - Tuxedos & Uniforms              1,123.81           5/17/2022
4/29/2022                    4004        powe1701 - PowerSecure, Inc                            1,022.96           5/16/2022
4/29/2022                    4005        secu1080 - Secure Personal Care LLC                    5,880.43           5/11/2022
4/29/2022                    4006        sher7378 - The Sherwin Williams Co.                    1,637.89           5/11/2022
4/29/2022                    4007        soft1928 - Softrim LLC                                     883.32         5/12/2022
4/29/2022                    4008        sswo1141 - S&S Worldwide, Inc                              129.41         5/11/2022
4/29/2022                    4009        stap1384 - Staples                                         123.34         5/12/2022
4/29/2022                    4010        thys1132 - TK Elevator Company                             737.91         5/17/2022
4/29/2022                    4011        trin1824 - Bus Finders Inc                                 250.00         5/10/2022
4/29/2022                    4012        vali1634 - Validus Senior Living REIT                       43.47          5/6/2022
4/29/2022                    4013        vslhol - VSL Holdings LLC                                   97.03          5/6/2022
4/29/2022                    4014        will1028 - Lori Williams - Senior Services, LLC        2,500.00           5/10/2022
5/4/2022                     4015        90008384 - Ichimura                                        591.61         5/16/2022
5/4/2022                     4016        bear1126 - Bearcat Leasing Corporation                     270.04         5/10/2022
5/4/2022                     4017        sch1152 - SC&H Group, Inc                             20,000.00           5/10/2022
5/4/2022                     4018        vali1634 - Validus Senior Living REIT                 48,432.63            5/6/2022
5/4/2022                     4019        vslhol - VSL Holdings LLC                             11,991.71            5/6/2022
5/4/2022                     4020        welc1305 - Welcome Home Software, Inc                      425.00         5/10/2022
5/4/2022                     4022        home1384 - The Home Depot Pro                              528.42         5/11/2022
5/4/2022                     4023        sswo1141 - S&S Worldwide, Inc                              301.37         5/11/2022
5/4/2022                     4024        stap1384 - Staples                                         210.97         5/12/2022
5/6/2022                     4025        sode1251 - Sodexo, Inc & Affiliates                   90,603.54           5/25/2022
5/13/2022                    4026        assa1267 - ASSA ABLOY Global Solutions                      80.14         5/25/2022
5/13/2022                    4027        ster1197 - Stericycle, Inc.                                189.22         5/25/2022
5/13/2022                    4028        vali1634 - Validus Senior Living REIT                 15,727.56           5/16/2022
5/13/2022                    4029        vslhol - VSL Holdings LLC                             13,247.90           5/16/2022
5/13/2022                    4030        will1028 - Lori Williams - Senior Services, LLC        2,500.00           5/25/2022
5/18/2022                    4031        uhc1336 - United Healthcare Insurance Co.             10,028.47           5/23/2022
5/19/2022                    4032        vslhol - VSL Holdings LLC                             23,446.89           5/25/2022
5/19/2022                    4033        john1602 - Johnson Pope Trust Account                 50,000.00           5/24/2022
5/27/2022                    4062        vali1634 - Validus Senior Living REIT                  7,383.87           5/27/2022
5/27/2022                    4063        vslhol - VSL Holdings LLC                             13,680.52           5/27/2022
Total Cleared Checks                                                                         382,300.74
Cleared Other Items

Date              Tran #                 Notes                                             Amount             Date Cleared
5/2/2022                   JE 63008                                                                   0.10          5/2/2022
5/5/2022                   JE 62517                                                           350,000.00            5/5/2022
5/6/2022                   JE 62518      Payroll JE 2                                          -77,635.22           5/6/2022
5/6/2022                   JE 62519      Payroll JE 2                                          -16,928.23           5/6/2022
5/6/2022                   JE 62520      Payroll JE 2 Garn                                          -129.70         5/6/2022
5/6/2022                   JE 62521      Payroll JE 2 401K                                          -889.98         5/9/2022
5/6/2022                   JE 62523      Payroll JE 2 Fee                                       -1,428.56           5/6/2022
5/6/2022                   JE 62578      Reclass                                                    -219.71         5/6/2022
5/10/2022                  JE 62579      Reclass                                                    -106.00        5/10/2022
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                                          Senior Care Living VII, LLC                                                 6/2/2022


                                          Bank Reconciliation Report
                                                       5/31/2022


                                           Posted by: vslaa3 on 6/2/2022
Cleared Other Items

Date                  Tran #                 Notes                                  Amount             Date Cleared
5/11/2022                      JE 62582      Reclass                                         -800.30        5/11/2022
5/11/2022                      JE 62583      Reclass                                          -78.05        5/11/2022
5/11/2022                      JE 62584      Reclass                                         -154.46        5/11/2022
5/11/2022                      JE 62591                                                      -154.50        5/11/2022
5/13/2022                      JE 62580      Reclass                                          -35.39        5/13/2022
5/13/2022                      JE 62585      Reclass                                       1,289.17         5/13/2022
5/13/2022                      JE 62586      Reclass                                         219.71         5/13/2022
5/13/2022                      JE 62587      Reclass                                         281.51         5/13/2022
5/16/2022                      JE 62588      Reclass                                         154.46         5/16/2022
5/16/2022                      JE 62589      Reclass                                          78.05         5/16/2022
5/16/2022                      JE 62590      Reclass                                         800.30         5/16/2022
5/20/2022                      JE 62876      Payroll JE 2                                -78,171.91         5/20/2022
5/20/2022                      JE 62877      Payroll JE 2                                -16,548.15         5/20/2022
5/20/2022                      JE 62878      Payroll JE 2 Garn                               -715.51        5/20/2022
5/20/2022                      JE 62879      Payroll JE 2 Fee                             -2,267.12         5/20/2022
5/23/2022                      JE 62908                                                      -939.43        5/23/2022
5/25/2022                      JE 62959                                                  300,000.00         5/25/2022
Total Cleared Other Items                                                               455,621.08
FTCSTMT042 042 20220531 UDSPDFSTMT 0000000007980680826 DDA
                         Case 8:22-bk-00103-CED                             Doc 143-1             Filed 06/22/22 Statement
                                                                                                                    PagePeriod
                                                                                                                           5 of Date:
                                                                                                                                24 5/1/2022 - 5/31/2022
                                                                                                                                   Account Type: 5/3 BUS ELITE CKG
                                                                                                                                      Account Number:         0826
                    (TAMPA BAY)
                    P.O. BOX 630900 CINCINNATI OH 45263-0900
                                                                                                                                       Banking Center: Missouri Ave.
                    SENIOR CARE LIVING VII LLC                                                                                  Banking Center Phone: 727-584-4882
                                                                                        0
                    3665 E BAY DR STE 204429
                                                                                                                             Business Banking Support: 877-534-2264
                    LARGO FL 33771-1990
                                                                                      8694




                                                     Account Summary -                                     0826
   05/01      Beginning Balance                                      $626,705.15                    Number of Days in Period                                  31
      66      Checks                                                 $(382,300.74)
      15      Withdrawals / Debits                                   $(203,049.90)
      13      Deposits / Credits                                       $658,670.98
   05/31      Ending Balance                                         $700,025.49


Analysis Period: 04/01/22 - 04/30/22

  Standard Monthly Service Charge                                                                          $35.00
  Standard Monthly Service Charge Waived (see below)                                                     -$35.00
  ELECTRONIC     DEPOSIT 4                                                                                 $31.50
  STOP PAYMENT                                                                                             $33.00
  WIRE 7                                                                                                   $90.00

Service Charge withdrawn on 05/11/22                                                                     $154.50

4Charges for Electronic Deposit Manager (EDM) include the EDM Monthly Service Fee.
7Charges for incoming and outgoing wires, as well as other wire activity.




Standard Monthly Service Charge waived if:                                              Current Relationship Overview:

Your business maintains a total monthly average                                         Balance Criteria Met?                                                 Yes
balance of $25,000 across its business checking, savings,                                    Total Combined Monthly Average Balance                    $570,007.83
and certificate of deposit accounts.


OR your business has a business loan or line of credit.                                 Business Loan or Line of Credit?                                       No

OR your business spends at least $500 per month on                                      Other Criteria Met?                                                    No
its business credit card PLUS has one of the following:                                      $500 Business Credit Card Spend?                                   No
Electronic Deposit Manager OR Cash Management                                                Electronic Deposit Manager?                                       Yes
Essentials.                                                                                  Cash Management Essentials?                                        No


Checks                                                                                                                            66 checks totaling $382,300.74
* Indicates gap in check sequence    i = Electronic Image      s = Substitute Check

Number           Date Paid                 Amount           Number          Date Paid                 Amount        Number        Date Paid            Amount
2i                 05/25                   2,500.00         3973 i            05/02                    1,167.37     3984 i            05/05            17,070.47
3854*i             05/04                      30.64         3974 i            05/02                    1,109.63     3987*i            05/16               919.24
3888*i             05/10                   7,000.00         3975 i            05/03                      100.00     3989*i            05/09               162.36
3948*i             05/10                   4,764.97         3976 i            05/03                    4,221.75     3990 i            05/10               324.75
3954*i             05/02                      84.22         3977 i            05/04                      399.63     3991 i            05/09             1,085.00
3962*i             05/09                     109.03         3979*i            05/03                        8.93     3992 i            05/11                67.78
3969*i             05/04                      32.23         3980 i            05/03                      490.00     3993 i            05/10               727.32
3970 i             05/03                     388.62         3981 i            05/04                    1,230.59     3994              05/10             1,167.37
3971 i             05/04                     108.26         3982 i            05/03                    7,000.00     3995 i            05/10               103.25
3972 i             05/23                   1,037.52         3983 i            05/04                      250.00     3997*i            05/11                16.58



                                    For additional information and account disclosures, please visit www.53.com/businessbanking                        Page 1 of 4
PSKEY01|DDA0|01|FTTF|20220531|8|0|S|1|8694|8694|7980680826|0|25923||PSKEY99|
FTCSTMT042 042 20220531 UDSPDFSTMT 0000000007980680826 DDA
                           Case 8:22-bk-00103-CED                        Doc 143-1    Filed 06/22/22         Page 6 of 24



Checks      - continued
* Indicates gap in check sequence   i = Electronic Image     s = Substitute Check

Number           Date Paid                Amount           Number         Date Paid     Amount      Number       Date Paid           Amount
3998   i           05/11                  1,934.90         4010 i           05/17          737.91   4023 i         05/11               301.37
3999   i           05/12                  2,239.03         4011 i           05/10          250.00   4024 i         05/12               210.97
4000   i           05/10                  2,018.86         4012 i           05/06           43.47   4025 i         05/25            90,603.54
4001   i           05/11                     91.01         4013 i           05/06           97.03   4026 i         05/25                80.14
4002   i           05/12                    770.00         4014 i           05/10        2,500.00   4027 i         05/25               189.22
4003   i           05/17                  1,123.81         4015 i           05/16          591.61   4028 i         05/16            15,727.56
4004   i           05/16                  1,022.96         4016 i           05/10          270.04   4029 i         05/16            13,247.90
4005   i           05/11                  5,880.43         4017 i           05/10       20,000.00   4031*i         05/23            10,028.47
4006   i           05/11                  1,637.89         4018 i           05/06       48,432.63   4032 i         05/25            23,446.89
4007   i           05/12                    883.32         4019 i           05/06       11,991.71   4033 i         05/24            50,000.00
4008   i           05/11                    129.41         4020 i           05/10          425.00   4062*i         05/27             7,383.87
4009   i           05/12                    123.34         4022*i           05/11          528.42   4063 i         05/27            13,680.52


Withdrawals / Debits                                                                                              15 items totaling $203,049.90
Date                            Amount             Description
05/03                          96,121.71           OUTGOING WIRE TRANS 050322
05/06                             219.71           WEB INITIATED PAYMENT AT Credit One Bank Payment 54221572 050622
05/09                             889.98           PRINCIPAL LIFE P PLIC-PERIS 5-3626200001664 SENIOR CARE VII LLC 050922
05/10                             106.00           WEB INITIATED PAYMENT AT Fortiva PMT ePay Fortiva PMT 051022
05/11                              78.05           WEB INITIATED PAYMENT AT Credit One Bank Payment 54221572 051122
05/11                             154.46           WEB INITIATED PAYMENT AT Mission Lane Vis Mission La ST-O0U9W0H1Y2H4 051122
05/11                             800.30           WEB INITIATED PAYMENT AT SANTANDER CONSUMER 0025265407 051122
05/11                             154.50           SERVICE CHARGE
05/13                              35.39           WEB INITIATED PAYMENT AT Mission Lane Vis Mission La ST-X6M6R3G3N4A7 051322
05/16                              70.09           WEB INITIATED PAYMENT AT Mission Lane Vis Mission La ST-J0S4G8D9O1G0 051622
05/16                             124.92           WEB INITIATED PAYMENT AT SPECTRUM SPECTRUM 0750926 051622
05/16                             152.67           WEB INITIATED PAYMENT AT Mission Lane Vis Mission La ST-F5X4U5H9Y5J9 051622
05/16                           5,500.00           WEBFILE TAX PYMT CPA TAX PAYMENTS DD 902/06082303 33311/12345/EDI/XML - 051622
05/18                          97,702.69           OUTGOING WIRE TRANS 051822
05/23                             939.43           PRINCIPAL LIFE P PLIC-PERIS 5-3626200001543 SENIOR CARE VII LLC 052322


Deposits / Credits                                                                                                 13 items totaling $658,670.98
Date                           Amount                Description
05/02                              0.10              Bank Verify SIGONFILE 85HXN9 050222
05/05                        350,000.00              DEPOSIT
05/13                            219.71              FUNDS TRANSFER CREDIT REF # 00288517622 DISPUTED ACH ITEM RETURNED
05/13                            281.51              FUNDS TRANSFER CREDIT REF # 00288517158 DISPUTED ACH ITEM RETURNED
05/13                          1,289.17              FUNDS TRANSFER CREDIT REF # 00288517652 DISPUTED ACH ITEM RETURNED
05/16                             78.05              FUNDS TRANSFER CREDIT REF # 00289730450 DISPUTED ACH ITEM RETURNED
05/16                            154.46              FUNDS TRANSFER CREDIT REF # 00289730462 DISPUTED ACH ITEM RETURNED
05/16                            800.30              FUNDS TRANSFER CREDIT REF # 00289730447 DISPUTED ACH ITEM RETURNED
05/17                             70.09              FIFTH THIRD BANK ACH POSITIVE PAY POSPAY RTN Senior Care Living VII 051722
05/17                            124.92              FIFTH THIRD BANK ACH POSITIVE PAY POSPAY RTN Senior Care Living VII 051722
05/17                            152.67              FIFTH THIRD BANK ACH POSITIVE PAY POSPAY RTN Senior Care Living VII 051722
05/17                          5,500.00              FIFTH THIRD BANK ACH POSITIVE PAY POSPAY RTN Senior Care Living VII 051722
05/25                        300,000.00              DEPOSIT


Daily Balance Summary
Date                                     Amount            Date                            Amount Date                               Amount

05/02                                  624,344.03          05/10                       744,202.72   05/18                          599,915.09
05/03                                  516,013.02          05/11                       732,427.62   05/23                          587,909.67
05/04                                  513,961.67          05/12                       728,200.96   05/24                          537,909.67
05/05                                  846,891.20          05/13                       729,955.96   05/25                          721,089.88
05/06                                  786,106.65          05/16                       693,631.82   05/27                          700,025.49
05/09                                  783,860.28          05/17                       697,617.78


                                                                                                                                    Page 2 of 4
PSKEY01|DDA0|01|FTTF|20220531|8|0|S|1|8694|8694|7980680826|0|25924||PSKEY99|
FTCSTMT042 042 20220531 UDSPDFSTMT 0000000007980680826 DDA
                    Case 8:22-bk-00103-CED                Doc 143-1     Filed 06/22/22 Statement
                                                                                          PagePeriod
                                                                                                 7 of Date:
                                                                                                      24 5/1/2022 - 5/31/2022
                                                                                                  Account Type: 5/3 BUS ELITE CKG
                                                                                                     Account Number:         0826
               (TAMPA BAY)
               P.O. BOX 630900 CINCINNATI OH 45263-0900
                                                                                                      Banking Center: Missouri Ave.
               SENIOR CARE LIVING VII LLC                                                       Banking Center Phone: 727-584-4882
                                                                 0
               3665 E BAY DR STE 204429                                                    Business Banking Support: 877-534-2264
               LARGO FL 33771-1990
                                                              8694




 IF YOU USE TREASURY MANAGEMENT SERVICES, PLEASE NOTE THAT WE HAVE UPDATED OUR TERMS AND CONDITIONS. GO TO 53.COM/TM-TC TO
 VIEW.




                                                                                                                      Page 3 of 4
PSKEY01|DDA0|01|FTTF|20220531|8|0|S|1|8694|8694|7980680826|0|25925||PSKEY99|
FTCSTMT042 042 20220531 UDSPDFSTMT 0000000007980680826 DDA
                   Case 8:22-bk-00103-CED               Doc 143-1        Filed 06/22/22   Page 8 of 24




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                                                                                                         Page 4 of 4
PSKEY01|DDA0|01|FTTF|20220531|8|0|S|1|8694|8694|7980680826|0|25926||PSKEY99|
               Case 8:22-bk-00103-CED                   Doc 143-1             Filed 06/22/22    Page 9 of 24


                                          Senior Care Living VII, LLC                                                       6/2/2022


                                          Bank Reconciliation Report
                                                     5/31/2022
                                                                 5604

                                           Posted by: vslaa3 on 6/2/2022



Balance Per Bank Statement as of 5/31/2022                                                           96,742.99



Outstanding Deposits

Deposit Date             Deposit Number                                                                 Amount
5/30/2022                      1019                                                                   10,300.00
5/31/2022                        591                                                                   4,970.00
Plus:             Outstanding Deposits                                                               15,270.00
Outstanding Checks

Check Date               Check Number        Payee                                                      Amount
1/23/2020                      2452          90008691 - Ketterer                                       1,358.55
5/15/2020                      2641          90009534 - Beaverstock Jr.                                  795.36
5/17/2021                      3302          90009915 - Tanel                                            793.68
1/20/2022                      3747          90010695 - Breuel                                         3,174.21
1/20/2022                      3748          90010854 - Wilson                                         1,495.56
Less:              Outstanding Checks                                                                 7,617.36



Bank Reconciling Items

Date                                         Notes                                                      Amount
5/31/2022                                    adjustment on resident receipt                            1,000.00
Plus/Minus:        Bank Reconciling Items                                                             1,000.00
                   Reconciled Bank Balance                                                          105,395.63



Balance per GL as of 5/31/2022                                                                      105,395.63
                   Reconciled Balance Per G/L                                                       105,395.63


Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                  0.00




Cleared Items:


Cleared Checks

Date               Tran #                    Notes                                         Amount            Date Cleared
5/5/2022                      3840           seni5028 - Senior Care Living VII, LLC             350,000.00           5/5/2022
5/25/2022                     3841           seni5028 - Senior Care Living VII, LLC             300,000.00          5/25/2022
Total Cleared Checks                                                                           650,000.00
Cleared Deposits

Date               Tran #                    Notes                                         Amount            Date Cleared
4/29/2022                        988         :ACH Deposit                                        15,563.00           5/2/2022
4/30/2022                        990         :ACH Deposit                                        10,290.00           5/2/2022
5/1/2022                         994         :CC Deposit                                          5,495.00           5/5/2022
5/1/2022                         993         :ACH Deposit                                       257,520.83           5/2/2022
            Case 8:22-bk-00103-CED                    Doc 143-1       Filed 06/22/22   Page 10 of 24


                                        Senior Care Living VII, LLC                                                  6/2/2022


                                        Bank Reconciliation Report
                                                     5/31/2022


                                         Posted by: vslaa3 on 6/2/2022
Cleared Deposits

Date               Tran #                  Notes                                   Amount             Date Cleared
5/2/2022                        581        :CHECKscan Deposit                             6,395.00          5/4/2022
5/2/2022                        997        :ACH Deposit                                  47,731.00          5/3/2022
5/3/2022                       1000        :ACH Deposit                                  34,669.84          5/4/2022
5/4/2022                       1004        :ACH Deposit                                  15,913.00          5/6/2022
5/4/2022                       1003        :ACH Deposit                                 144,979.50          5/5/2022
5/5/2022                        582        :CHECKscan Deposit                               250.00          5/6/2022
5/6/2022                        583        :CHECKscan Deposit                               262.50          5/9/2022
5/6/2022                        586        ILL Bradford dep ck # 63                       8,819.01          5/6/2022
5/6/2022                       1007        :ACH Deposit                                   4,403.00          5/9/2022
5/6/2022                       1006        :ACH Deposit                                  11,363.00          5/9/2022
5/9/2022                        584        :CHECKscan Deposit                             4,330.00         5/10/2022
5/9/2022                       1008        :ACH Deposit                                  14,284.00         5/10/2022
5/11/2022                       585        :CHECKscan Deposit                             4,000.00         5/12/2022
5/11/2022                      1009        :ACH Deposit                                  13,190.00         5/12/2022
5/12/2022                       587        :CHECKscan Deposit                            15,958.09         5/16/2022
5/12/2022                      1010        :ACH Deposit                                   2,750.00         5/13/2022
5/17/2022                       588        ILL Ruuska dep ck # 5078                      13,592.37         5/17/2022
5/23/2022                      1011        :ACH Deposit                                   6,605.00         5/24/2022
5/24/2022                      1012        :ACH Deposit                                   4,995.00         5/25/2022
5/25/2022                       589        :CHECKscan Deposit                             4,200.00         5/26/2022
5/25/2022                      1013        :ACH Deposit                                  15,689.00         5/26/2022
5/26/2022                      1014        :ACH Deposit                                   5,500.00         5/27/2022
5/27/2022                      1016        :ACH Deposit                                  13,840.00         5/31/2022
5/29/2022                      1017        :ACH Deposit                                   5,245.00         5/31/2022
5/31/2022                       590        ILL Goff dep ck # 6488                         4,117.76         5/31/2022
Total Cleared Deposits                                                                 691,950.90
Cleared Other Items

Date               Tran #                  Notes                                   Amount             Date Cleared
5/4/2022                    JE 62575       Reclass                                        6,023.18          5/4/2022
5/5/2022                    RC 167324      Returned item 00002173                        -5,768.00          5/5/2022
5/10/2022                   RC 167763      Returned item 00003835                        -4,403.00         5/10/2022
5/18/2022                   JE 62874                                                        161.80         5/18/2022
5/18/2022                   JE 62875                                                        -770.00        5/18/2022
5/23/2022                   JE 62907                                                     -1,036.00         5/23/2022
Total Cleared Other Items                                                               -5,792.02
                             Case 8:22-bk-00103-CED                   Doc 143-1   Filed 06/22/22   Page 11 of 24




                  999-99-99-99 20178 2 C 001 30 S   66 002
                  SENIOR CARE L I V I N G V I I LLC
                  OPERATING ACCT
                  4 3 0 1 ANCHOR PLAZA PKWY STE 3 0 0
                  TAMPA FL     33634-7521




   Your account statement                                                              Contact us
                                                                                                                   (844) 4TRUIST or
   For 05/31/2022                                                                           Truist.com             (844) 487-8478




     BUSINESS VALUE 500 CHECKING                                  5604
   Account summary
   Your previous balance as of 04/29/2022                        $61,584.11
   Checks                                                     - 650,000.00
   Other withdrawals, debits and service charges                - 42,093.72
   Deposits, credits and interest                              + 727,252.60
   Your new balance as of 05/31/2022                          = $96,742.99

   Checks
   DATE            CHECK #                                       AMO UNT($ )
   05/05           3840                                         350,000.00
   05/25           3841                                         300,000.00
   Total checks                                              = $ 650,000.00

   Other withdrawals, debits and service charges
   DATE      DESCR IPTIO N                                                                                                 AM OUN T($ )
   05/04     ACH CORP DEBIT Adjustment Elysian Healthca Validus Senior Care L CUSTOMER ID                                   9,576.95
   05/04     ACH CORP DEBIT Adjustment Elysian Healthca Validus Senior Care L CUSTOMER ID                                  10,269.26
   05/04     ACH CORP DEBIT Adjustment Elysian Healthca Validus Senior Care L CUSTOMER ID                                  10,269.26
   05/05     ACH CORP DEBIT Return VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014540393961                        5,768.00
   05/10     ACH CORP DEBIT Return VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014585725049                        4,403.00
   05/17     ACH CORP DEBIT Verify Elysian Healthca Validus Lewisville CUSTOMER ID                                              0.29
   05/17     ACH CORP DEBIT Verify Elysian Healthca Validus Lewisville CUSTOMER ID                                              0.96
   05/18     ACH CORP DEBIT LewisVlApr MEDELLA BENEFITS Senior Care Living VII CUSTOMER ID 2064646                            770.00
   05/23     SERVICE CHARGES - PRIOR PERIOD                                                                                 1,036.00
   Total other withdrawals, debits and service charges                                                                  = $42,093.72

   Deposits, credits and interest
   DATE      DESCR IPTIO N                                                                                                 AM OUN T($ )
   05/02     Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014469107229                                   15,563.00
   05/02     Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014490041117                                  267,810.83
   05/03     Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014509541769                                    47,731.00
   05/04     Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014528274001                                     6,395.00
   05/04     Adjustment Elysian Healthca Validus Senior Care L CUSTOMER ID                                                   11,492.37
   05/04     Adjustment Elysian Healthca Validus Senior Care L CUSTOMER ID                                                   12,323.14
   05/04     Adjustment Elysian Healthca Validus Senior Care L CUSTOMER ID                                                   12,323.14
   05/04     Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014528213065                                   34,669.84
   05/05     ILL-OPTran YARDI CARD DEP ILL-OP-Validus Senior CUSTOMER ID 51579274                                             5,495.00
   05/05     Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014543726405                                  144,979.50
                                                                                                                            continued


0032898
 BUSINESS VALUECase
                500 CHECKING
                     8:22-bk-00103-CED5604 (continued)
                                         Doc  143-1 Filed 06/22/22                      Page 12 of 24
DATE    DESCR IPTIO N                                                                                      AM OUN T($ )
05/06    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014557451401                           250.00
05/06    REMOTE DEPOSIT                                                                                       8,819.01
05/06    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014557237873                        15,913.00
05/09    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014571158657                           262.50
05/09    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014580705985                        4,403.00
05/09    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014570875529                       11,363.00
05/10    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014589013141                         4,330.00
05/10    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014588921861                       14,284.00
05/12    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014610000337                        4,000.00
05/12    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014609806237                       13,190.00
05/13    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014618195333                         2,750.00
05/16    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014628002077                       15,958.09
05/17    Verify Elysian Healthca Validus Lewisville CUSTOMER ID                                                    1.25
05/17    REMOTE DEPOSIT                                                                                      13,592.37
05/18    REMOTE DEPOSIT                                                                                         161.80
05/18    REMOTE DEPOSIT                                                                                        3,117.76
05/24    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014693847993                         6,605.00
05/25    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014702882421                         4,995.00
05/26    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014711250293                         4,200.00
05/26    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014711109669                       15,689.00
05/27    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014719117749                         5,500.00
05/31    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014738196925                         5,245.00
05/31    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014729466325                       13,840.00
Total deposits, credits and interest                                                                    = $727,252.60
                               Case 8:22-bk-00103-CED                          Doc 143-1           Filed 06/22/22               Page 13 of 24




   Questions, comments or errors?
   For general questions/comments or to report errors about your statement or                have stopped someone from making electronic transfers without your permission if
   account, please call us at 1-844-4TRUIST (1-844-487-8478) 24 hours a day, 7 days          you had told us, you could lose as much as $500. Also, if your periodic statement
   a week. Truist Contact Center teammates are available to assist you from 8am              shows transfers you did not make, tell us at once. If you do not tell us within sixty (60)
   8pm EST Monday-Friday and 8am 5pm EST on Saturday. You may also contact                   days after the statement was mailed to you, you may not get back any money you lost
   your local Truist branch. To locate a Truist branch in your area, please visit            after sixty (60) days if we can prove we could have stopped someone from taking the
   Truist.com.                                                                               money if you had told us in time.

   Electronic fund transfers (For Consumer Accounts Only. Commercial Accounts                Important information about your Truist Ready Now Credit Line Account
   refer to the Commercial Bank Services Agreement.)                                         Once advances are made from your Truist Ready Now Credit Line Account, an
   Services such as Bill Payments and Zelle® are subject to the terms and conditions         INTEREST CHARGE will automatically be imposed on the account's outstanding
   governing those services, which may not provide an error resolution process in all        “Average daily balance.” The INTEREST CHARGE is calculated by applying the “Daily
   cases. Please refer to the terms and conditions for those services.                       periodic rate” to the ‘Average daily balance” of your account (including current
                                                                                             transactions) and multiplying this figure by the number of days in the billing cycle. To
   In case of errors or questions about your electronic fund transfers, if you think your    get the “Average daily balance,” we take the beginning account balance each day, add
   statement or receipt is wrong or if you need more information about a transfer on         any new advances or debits, and subtract any payments or credits and the last unpaid
   the statement or receipt, IMMEDIATELY call 1-844-487-8478 or write to:                    INTEREST CHARGE. This gives us the daily balance. Then we add all of the daily
                               Fraud Management                                              balances for the billing cycle and divide the total by the number of days in the billing
                               P.O. Box 1014                                                 cycle. This gives us the ‘Average daily balance.”
                               Charlotte, NC 28201
   Tell us as soon as you can, if you think your statement or receipt is wrong, or if you    Billing Rights Summary
   need more information about a transfer listed on the statement or receipt. We             In case of errors or questions about your Truist Ready Now Credit Line statement
   must hear from you no later than sixty (60) days after we sent the FIRST statement        If you think your statement is incorrect, or if you need more information about a Truist
   on which the problem or error appeared.                                                   Ready Now Credit Line transaction on your statement, please call 1-844-4TRUIST or
   • Tell us your name and deposit account number (if any)                                   visit your local Truist branch. To dispute a payment, please write to us on a separate
   • Describe the error or transfer you are unsure of, and explain as clearly as you can     sheet of paper at the following address:
        why you believe it is an error or why you need more information                                               Card and Direct to Consumer Lending
   • Tell us the dollar amount of the suspected error                                                                 PO Box 200
    If you tell us orally, we may require that you also send us your complaint or                                     Wilson NC 27894-0200
    question in writing within ten (10) business days. We will tell you the results of our   We must hear from you no later than sixty (60) days after we sent you the FIRST
    investigation within ten (10) business days after we hear from you, and we will          statement on which the error or problem appeared. You may telephone us, but doing
    correct any error promptly. If we need more time, however, we may take up to             so will not preserve your rights. In your letter, please provide the following
    forty-five (45) days to investigate your complaint or questions for ATM                  information:
    transactions made within the United States and up to ninety (90) days for new            • Your name and account number
    accounts, foreign initiated transactions and point-of-sale transactions. If we decide    • Describe the error or transfer you are unsure about, and explain in detail why you
    to do this, we will re-credit your account within ten (10) business days for the             believe this is an error or why you need more information
    amount you think is in error, minus a maximum of $50. If we ask you to put your          • The dollar amount of the suspected error
    complaint in writing, and we do not receive it within ten (10) business days, we may     During our investigation process, you are not responsible for paying any amount in
    not re-credit your account and you will not have use of the money during the time        question; you are, however, obligated to pay the items on your statement that are not
    it takes us to complete our investigation.                                               in question. While we investigate your question, we cannot report you as delinquent
                                                                                             or take any action to collect the amount in question.
   Tell us AT ONCE if you believe your access device has been lost or stolen, or
   someone may have electronically transferred money from your account without               Mail-in deposits
   your permission, or someone has used information from a check to conduct an               If you wish to mail a deposit, please send a deposit ticket and check to your local Truist
   unauthorized electronic fund transfer. If you tell us within two (2) business days        branch. Visit Truist.com to locate the Truist branch closest to you. Please do not send
   after you learn of the loss or theft of your access device or the unauthorized            cash.
   transaction, you can lose no more than $50 if someone makes electronic transfers
   without your permission.                                                                  Change of address
                                                                                             If you need to change your address, please visit your local Truist branch or call Truist
   If you do NOT tell us within two (2) business days after you learn of the loss or theft   Contact Center at 1-844-4TRUIST (1-844-487-8478).
   of your access device or the unauthorized transaction, and we can prove we could

                                        How to Reconcile Your Account                                                  Outstanding Checks and Other Debits (Section A)
                                                                                                                Date/Check #         Amount         Date/Check #          Amount
    1.    List the new balance of your account from your latest statement here:

    2.    Record any outstanding debits (checks, check card purchases, ATM
          withdrawals, electronic transactions, etc.) in section A. Record the
          transaction date, the check number or type of debit and the debit amount.
          Add up all of the debits, and enter the sum here:
    3.    Subtract the amount in Line 2 above from the amount in Line 1 above and
          enter the total here:

    4.    Record any outstanding credits in section B. Record the transaction date,
          credit type and the credit amount. Add up all of the credits and enter the
          sum here:                                                                                                   Outstanding Deposits and Other Credits (Section B)
    5.    Add the amount in Line 4 to the amount in Line 3 to find your balance. Enter                            Date/Type          Amount           Date/Type           Amount
          the sum here. This amount should match the balance in your register.
                 For more information, please contact your local Truist branch, visit Truist.com or contact us at 1-844-4TRUIST (1-844-487-8478). MEMBER FDIC


0032899
                                                   Case 8:22-bk-00103-CED      Doc 143-1    Filed 06/22/22   Page 14 of 24
Aging By Accounting Period - Detail
For: ill
Month: 05/2022
Resident                          Unit - Privacy Level         Total                 1 Month      2 Months     3 Months      4 Months   5 + Months                Pre-
Payer                             Payer Phone                   Due      Current     Past Due     Past Due     Past Due      Past Due     Past Due            Payments
Community: ill - Inspired Living at Lewisville
Resident Status: Current
Arnold, Ursula (00003470)         135 - Single

Arnold, Olney (90009997)          (770) 865-5386               $0.00        $0.00       $0.00        $0.00        $0.00         $0.00        $0.00             $6,605.00

Batte, Bonnie (00008042)          307 - Single

Batte, Brad (90019941)            (214) 235-7636             $420.00     $420.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Bell, Patricia (00002370)         162 - Single

Bell, Matt (90007641)             (214) 394-3407               $0.00        $0.00       $0.00        $0.00        $0.00         $0.00        $0.00             $3,200.00

Bogost, Lila (00008491)           221 - Single

Bogost, Lila (90021013)           (000) 000-0000             $260.00     $260.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Bowen, Sara (00008641)            238 - Single

Johnston, Katherine (90021363)    (972) 679-5161             $274.99     $274.99        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Bradford, Clair (00008774)        335 - Single

Bradford, Karen (90021651)        (214) 738-6715               $0.00        $0.00       $0.00        $0.00        $0.00         $0.00        $0.00             $4,695.00

Collins, Carolyn (00001637)       121 - Single

Peterson, Carolee (90007979)                                  $20.00      $20.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Davis, Judy (00003748)            100 - Single

Davis, Judy (90010619)            (214) 912-2258               $0.02        $0.02       $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Demshock, Joan C (00008705)       229 - Single

Fisher, Robert (90021513)         (269) 492-4788             $100.00     $100.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Dzurick, Phyllis (00008320)       305 - Single

Solomon, Brenda (90020600)        (214) 809-4735             $440.00     $440.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Fields, Linda (00008118)          308 - Single

Hindeman, Jamie (90020112)        (469) 855-3283             $270.00     $240.00       $30.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Flynn, Kay (00007865)             114 - Single

Robinson, Trish (90019538)        (214) 794-8330              $30.00      $30.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Fukuda, Annette (00002977)        300 - Single

Fukuda, Annette (90008868)        (972) 746-6225             $480.00     $480.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00

Gardner, George (00003914)        108 - Single

Petteway, Traci (90010988)        (972) 420-6353               $0.00        $0.00       $0.00        $0.00        $0.00         $0.00        $0.00             $2,975.00

Goff, Linda (t0008845)            334 - Second Resident

Cevallos, Sally (90021141)        (972) 679-0191            $1,599.99   $1,389.47     $210.52        $0.00        $0.00         $0.00        $0.00                     $0.00

Gray, Kennedy Alston (00007630)   209 - Single

Gray, Kennedy Alston (90019008)   (832) 418-0687             $645.00     $645.00        $0.00        $0.00        $0.00         $0.00        $0.00                     $0.00



                                                                                                                                               Friday, June 10, 2022
                                                   Case 8:22-bk-00103-CED         Doc 143-1   Filed 06/22/22   Page 15 of 24
Aging By Accounting Period - Detail
Hammond, Mildred (00003822)       314 - Single

Hammond, Laura (90010782)         (972) 989-5230              $170.00       $170.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Henry, Jan (00003229)             128 - Single

Gravely, Julie (90009448)                                       $0.00         $0.00       $0.00        $0.00       $0.00       $0.00    $0.00            $4,995.00

Henry, John (t0003230)            128 - Second Resident

Gravely, Julie (90009448)                                      $56.00         $0.00       $0.00        $0.00       $0.00       $0.00   $56.00                    $0.00

Huff, Clifford (00007849)         115 - Single

Huff, Clifford (90019498)         (214) 222-5335                $0.00         $0.00       $0.00        $0.00       $0.00       $0.00    $0.00            $6,289.00

Jackson, Nancy (00002012)         122 - Single

Perrin, Donna (90006721)          (972) 489-1519                $0.00         $0.00       $0.00        $0.00       $0.00       $0.00    $0.00            $5,500.00

Jackson, William Ray (00008876)   109 - Single

Jackson, William Ray (90021909)   (000) 000-0000                $0.00         $0.00       $0.00        $0.00       $0.00       $0.00    $0.00              $558.65

Jones, Doris (00008390)           206 - Single

Jones, Randall (90020758)         (512) 415-5489              $420.00       $420.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Klein, Patricia (00007994)        217 - Double B

Klein, James (90019816)                                        $10.00        $10.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Koeniger, Lambert (00008741)      112 - Single

Trice, Linda (90021583)           (432) 889-1041            $4,155.52     $4,155.52       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Kolodny, Mary (00008132)          113 - Single

Kolodny, Kathleen (90020139)      (214) 766-6402               $30.00        $30.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Lane, Terry (00003780)            322 - Single

Torres, Russell (90010689)                                     $50.00        $50.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Leeper, John (00003668)           205 - Single

Leeper, Emmanuel (90010433)       (214) 208-9690               $40.00        $40.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Letalien, Robert (00003800)       338 - Single

Letalien, Courtney (90010732)     (972) 467-8004               $20.00        $20.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Limboc, Felipa (00008484)         203 - Single

Jackson, Jennifer (90020996)      (469) 323-3030              $200.00       $200.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Lock, Gus (t0008637)              333 - Second Resident

Garcia, Mary (90021318)           (000) 000-0000           $(2,400.00)   $(2,400.00)      $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Lovas, Rose (00008396)            319 - Single

Lovas, Mark (90020770)            (000) 000-0000              $600.00       $600.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00

Martin, Helen (00007663)          233 - Single

Martin, Helen (90019081)          (972) 896-5484                $0.00         $0.00       $0.00        $0.00       $0.00       $0.00    $0.00              $497.82

Mayerhofer, Jeannie (00008523)    228 - Single

Mayerhofer, Marcus (90020965)     (972) 315-1515              $100.00       $100.00       $0.00        $0.00       $0.00       $0.00    $0.00                    $0.00



                                                                                                                                         Friday, June 10, 2022
                                                   Case 8:22-bk-00103-CED      Doc 143-1    Filed 06/22/22   Page 16 of 24
Aging By Accounting Period - Detail
McCutcheon, Karen (00007361)      139 - Single

Vivian, Kristy (90018397)         (469) 980-6897               $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $5,345.00

McGinley, Mary Ellen (00002402)   220 - Single

Patnode, Molly (90007609)         (000) 000-0000             $120.00   $120.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Moore, Jan (00008383)             317 - Single

Moore, Carolyn (90020739)         (972) 462-0297               $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $6,895.00

Moore, Jess (t0008384)            317 - Second Resident

Moore, Carolyn (90020739)         (972) 462-0297               $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $1,600.00

Morrison, Barbara (t0003327)      117 - Single

Spence, Karen (90009668)          (214) 418-9727              $10.00    $10.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Pavletic, Virginia (00008363)     104 - Single

Rynd, Nancy (90020690)            (469) 506-9501              $30.00    $30.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Penca, Betty (00002487)           154 - Single

Penca, John (90006370)                                         $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $5,245.00

Pugliese, Vito (00007359)         145 - Double A

Pugliese, James (90018393)        (214) 543-6178               $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $6,190.00

Reeder, Lorelee Ann (00008494)    222 - Single

Collins, Kelly (90021019)         (214) 437-4938             $220.00   $220.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Reith, Janet (00001801)           118 - Single

Reith, Janet (90006240)           (214) 663-2938              $10.00    $10.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Rice, Merle (00007950)            105 - Single

Rice, Martin (90019724)           (972) 834-9374              $10.00    $10.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Rucker, Marcus (00008146)         202 - Single

Rucker, Renee (90020171)          (214) 500-7266             $290.00   $290.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Ruuska, Diana J. (00008785)       323 - Single

Ruuska, Greg (90021681)           (972) 896-1978              $60.01    $60.01          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Scott, Janet L. (00003584)        133 - Double B

Scott, Linda (90010246)           (210) 379-0005             $175.00   $175.00          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Skidmore, Bob (00007937)          148 - Single

Paratore, Alex (90019694)         (806) 773-0504               $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $5,295.00

Springer, Donna (00003552)        103 - Single

White, Cheri (90010203)           (214) 502-4185               $0.00        $0.00       $0.00        $0.00       $0.00       $0.00   $0.00            $4,464.35

Steinberg, Lynda (00008689)       110 - Single

Steinberg, Todd (90021472)        (972) 741-2334             $875.79   $875.79          $0.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Stroope, Dr. Frank (00008776)     101 - Single

Forte MD, Judith (90021660)       (501) 343-5332              $10.00        $0.00      $10.00        $0.00       $0.00       $0.00   $0.00                    $0.00

Turrell, Kimberly (00008622)      225 - Single


                                                                                                                                      Friday, June 10, 2022
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Aging By Accounting Period - Detail
Turrell, Greg (90021313)         (214) 676-5019               $10.00         $10.00        $0.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Upham, Gary (00008858)           321 - Single

Upham, Cliff (90021864)          (469) 767-0970              $100.00        $100.00        $0.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Welch, Pauline (00008646)        140 - Single

Miller, Hope (90021374)          (469) 628-2327               $40.00         $40.00        $0.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Wilson, Jewel (00008453)         230 - Single

Wilson, Ronnie (90020917)        (903) 521-5853              $130.00        $130.00        $0.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Total for Resident Status: Current                        $10,082.32     $9,775.80      $250.52          $0.00        $0.00       $0.00      $56.00           $70,349.82

Resident Status: Moved Out
$Martin, $Anna (00003792)        108 - Single

$Laird, $Chris (90010714)        (972) 757-7677              $751.09          $0.00        $0.00         $0.00         $0.00      $0.00      $751.09                     $0.00

$Nelson, $Joe (00008388)         321 - Single

$Nelson, $Lorna (90020754)       (214) 783-8377             $3,018.36         $0.00        $0.00      $3,018.36        $0.00      $0.00        $0.00                     $0.00

$Polk, $Ned (00003217)           312 - Single

$Polk, $Edward (90009414)        (903) 641-3314             $6,917.00         $0.00        $0.00         $0.00         $0.00      $0.00     $6,917.00                    $0.00

$Smith, $Linda (00007570)        113 - Single

$Harnage, $Amy (90018880)        (817) 995-1754             $3,482.17         $0.00        $0.00         $0.00         $0.00      $0.00     $3,482.17                    $0.00

Gibbs, Dory (00007781)           138 - Single

Gibbs, Robert (90019358)         (928) 642-8102             $1,001.48         $0.00     $1,001.48        $0.00         $0.00      $0.00        $0.00                     $0.00

Reddin, Billie (00008625)        324 - Single

Page, Janet (90021320)           (214) 649-4683           $(1,535.00)    $(1,535.00)       $0.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Verplank, Elizabeth "Betty"      227 - Single
(00007428)
Verplank, Robert (90018542)      (214) 535-3564              $350.00          $0.00        $0.00         $0.00       $350.00      $0.00        $0.00                     $0.00

Total for Resident Status: Moved Out                      $13,985.10    $(1,535.00)    $1,001.48     $3,018.36      $350.00       $0.00   $11,150.26                 $0.00

Resident Status: On Notice
Moore, Greg (t0003481)           339 - Single

Moore, Greg (90010018)           (814) 580-7271             $6,168.95     $5,608.95      $560.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Renshaw, Mary Elizabeth          218 - Single
(00003904)
Renshaw, Ted (90010965)          (214) 536-7809             $7,340.00     $7,340.00        $0.00         $0.00         $0.00      $0.00        $0.00                     $0.00

Total for Resident Status: On Notice                      $13,508.95    $12,948.95      $560.00          $0.00        $0.00       $0.00        $0.00                 $0.00

Grand Total                                               $37,576.37    $21,189.75     $1,812.00     $3,018.36      $350.00       $0.00   $11,206.26          $70,349.82




                                                                                                                                                 Friday, June 10, 2022
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  Net Due




$(6,605.00)



   $420.00



$(3,200.00)



   $260.00



   $274.99



$(4,695.00)



    $20.00



     $0.02



   $100.00



   $440.00



   $270.00



    $30.00



   $480.00



$(2,975.00)



 $1,599.99



   $645.00



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   $170.00



$(4,995.00)



    $56.00



$(6,289.00)



$(5,500.00)



 $(558.65)



   $420.00



    $10.00



 $4,155.52



    $30.00



    $50.00



    $40.00



    $20.00



   $200.00



$(2,400.00)



   $600.00



 $(497.82)



   $100.00



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$(5,345.00)



   $120.00



$(6,895.00)



$(1,600.00)



    $10.00



    $30.00



$(5,245.00)



$(6,190.00)



   $220.00



    $10.00



    $10.00



   $290.00



    $60.01



   $175.00



$(5,295.00)



$(4,464.35)



   $875.79



    $10.00




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      $10.00



     $100.00



      $40.00



     $130.00

$(60,267.50)




     $751.09



   $3,018.36



   $6,917.00



   $3,482.17



   $1,001.48



  $(1,535.00)



     $350.00

 $13,985.10




   $6,168.95



   $7,340.00

 $13,508.95

$(32,773.45)




                                                                                        Friday, June 10, 2022
                                                                                            Case 8:22-bk-00103-CED                                                                    Doc 143-1                                   Filed 06/22/22                                       Page 22 of 24
                                                                                                                                                                                                                                                                                                                                                                                                                  6/22/2022 11:51 AM


                                                                                                                                       Payables Aging Report
                                                                                                                                                         ill
                                                                                                                                                  Period: 05/2022
                                                                                                                                                 As of : 05/31/2022
    Payee        Remittance Vendor Payee Name                               Invoice          Control     Batch Id   Property   Invoice Date              Account                Invoice #         Current           0-30          31-60         61-90          Over          Future       Notes
     Code                                                                    Notes                                                                                                                 Owed            Owed           Owed          Owed            90           Invoice
                                                                                                                                                                                                                                                               Owed
    fti1715                       FTI Consulting, Inc                                                                                                                                                                                                                              0.00
                                                                                            P-146019      29347        ill      12/17/2021    86034-90 Non Operating Expenses 7607495               35,043.68              0.00          0.00          0.00     35,043.68          0.00 December 2021 - Receivership Fees
Total fti1715                                                                                                                                                                                      35,043.68               0.00        0.00         0.00       35,043.68          0.00


   live1634                       Live Good, LLC                                                                                                                                                                                                                                   0.00
                                                                                            P-154436      30613        ill      5/31/2022     73016-50 Supplies              5pendants6.2.22          491.02          491.02             0.00          0.00           0.00         0.00 ILL to Pay 3004 for 5 pendants shipped
Total live1634                                                                                                                                                                                        491.02          491.02           0.00         0.00              0.00        0.00


   offi1602                       U.S. Trustees                                                                                                                                                                                                                                    0.00
                                                                     Acct # 308-22-00103    P-154111      30581        ill      5/31/2022     86034-90 Non Operating Expenses
                                                                                                                                                                        308-22-00103-05092022       15,426.00       15,426.00            0.00          0.00           0.00         0.00 Chapter 11 Quarterly Fees
Total offi1602                                                                                                                                                                                     15,426.00       15,426.00           0.00         0.00              0.00        0.00


   seni1479                       Senior Care Living VI LLC                                                                                                                                                                                                                        0.00
                                                                                             P-85543      18898        ill      9/27/2018     13820-00 Due to/from Senior Living09272018A
                                                                                                                                                                                 VI LLC (ILSL)      75,000.00              0.00          0.00          0.00     75,000.00          0.00 ILL to ILSL, Pay back ICO transfer funding 9/27
                                                                                             P-85592      18921        ill      12/28/2018    13820-00 Due to/from Senior Living
                                                                                                                                                                            12282018-Funding
                                                                                                                                                                                 VI LLC (ILSL)      50,000.00              0.00          0.00          0.00     50,000.00          0.00 12/28 Funding pay back, ILL to pay back ILSL
                                                                                             P-92547      20355        ill      5/22/2019     13820-00 Due to/from Senior Living
                                                                                                                                                                            ILSL funding
                                                                                                                                                                                 VI LLC (ILSL)
                                                                                                                                                                                         return    150,000.00              0.00          0.00          0.00    150,000.00          0.00 may 19 return funding from ILSL
Total seni1479                                                                                                                                                                                    275,000.00               0.00        0.00         0.00      275,000.00          0.00


   sode1251                       Sodexo, Inc & Affiliates                                                                                                                                                                                                                         0.00
                                                                                            P-153140      30439        ill      4/27/2022     74002-32 Non-Labor Allocation - Sodexo
                                                                                                                                                                                068003-ILL          -8,736.18              0.00    -8,736.18           0.00           0.00         0.00 Outside of PRD Billback Mar 2022
                                                                                            P-153670      30522        ill      5/12/2022     74002-32 Non-Labor Allocation - Sodexo
                                                                                                                                                                                068004-ILL          -6,622.77       -6,622.77            0.00          0.00           0.00         0.00 Outside of PRD Billback Apr 2022
Total sode1251                                                                                                                                                                                    -15,358.95       -6,622.77      -8,736.18         0.00              0.00        0.00


   stap1384                       Staples                                                                                                                                                                                                                                          0.00
                                                               Record Imported VALN00000002377
                                                                                          P-152765        30407        ill      4/30/2022     73016-50 Supplies                3506860590                 7.18             0.00          7.18          0.00           0.00         0.00 Record Imported VALN00000002377
Total stap1384                                                                                                                                                                                          7.18               0.00        7.18         0.00              0.00        0.00


   vali1634                       Validus Senior Living REIT                                                                                                                                                                                                                       0.00
                                                                       Executive Director   P-154591      30661        ill      5/31/2022     60010-50 Executive Director Wages
                                                                                                                                                                            05.2022CorpAlloE        11,000.00       11,000.00            0.00          0.00           0.00         0.00 05/2022 ILL Corporate Allocation 13013-00
                                                                       Executive Director   P-154591      30661        ill      5/31/2022     61005-50 Commissions Administration
                                                                                                                                                                           05.2022CorpAlloE           650.00          650.00             0.00          0.00           0.00         0.00 05/2022 ILL Corporate Allocation 13013-00
                                                                       Executive Director   P-154591      30661        ill      5/31/2022     61051-50 FICA Tax Administration
                                                                                                                                                                            05.2022CorpAlloE          891.23          891.23             0.00          0.00           0.00         0.00 05/2022 ILL Corporate Allocation 13013-00
                                                                   Lead Acquisition May-2022P-154461      30615        ill      5/31/2022     72021-44 Lead Acquisition      Mkting05312224               1.74             1.74          0.00          0.00           0.00         0.00 Lead acquisition - 05/2022 ILL-13811-00
                                                                  Management Fees: May 2022
                                                                                          P-154400        30603        ill       5/1/2022     74049-80 Management Fee Expense
                                                                                                                                                                        MgmtTU05-01-2210              -359.45              0.00     -359.45            0.00           0.00         0.00 May 2022 ILL Management Fees 13013-00
                                                                 Microsoft allocation May-2022
                                                                                             P-154477     30615        ill      5/31/2022     73051-50 Software Support Fees Msoft05312240
                                                                                                                                                                             Administration          1,568.13        1,568.13            0.00          0.00           0.00         0.00 Microsoft - 05/2022 ILL-13811-00
                                                                 Microsoft allocation May-2022
                                                                                             P-154664     30676        ill      5/31/2022     73051-50 Software Support FeesCAdministration
                                                                                                                                                                              Msoft05312240           -267.75         -267.75            0.00          0.00           0.00         0.00 softrim vsl helpdesk - May 2022 ILL-13811-00
                                                                pcard03.31.2022-Statement Date
                                                                                           P-154384       30601        ill      5/31/2022     22018-00 P-Card Payable       pcard05.31.202255           63.18             63.18          0.00          0.00           0.00         0.00 pcard03.31.2022-Statement Date-05/31/2022 ILL 22018-00
                                                                pcard04.30.2022-Statement Date
                                                                                           P-154375       30601        ill      5/31/2022     22018-00 P-Card Payable       pcard05.31.202234        3,426.87        3,426.87            0.00          0.00           0.00         0.00 pcard04.30.2022-Statement Date-05/31/2022 ILL 22018-00
                                                                pcard05.31.2022-Statement Date
                                                                                           P-154360       30601        ill      5/31/2022     22018-00 P-Card Payable       pcard05.31.202213        2,360.56        2,360.56            0.00          0.00           0.00         0.00 pcard05.31.2022-Statement Date-05/31/2022 ILL 22018-00
                                                                        Postage Reclass     P-154431      30612        ill      5/31/2022     73055-50 Postage & Freight Administration
                                                                                                                                                                               Post05.22A               44.27             44.27          0.00          0.00           0.00         0.00 Postage expense - May2022 ILL 13811-00
                                                                 Print Media allocation May-2022
                                                                                              P-154493    30615        ill      5/31/2022     72004-44 Print Media           Mkting05312256               3.39             3.39          0.00          0.00           0.00         0.00 Print Media allocation 05/2022 ILL-13811-00
                                                                       Website May-2022     P-154445      30615        ill      5/31/2022     72015-44 Website                Mkting0531228             44.25             44.25          0.00          0.00           0.00         0.00 Wesbite - 05/2022 ILL-13811-00
Total vali1634                                                                                                                                                                                     19,426.42       19,785.87       -359.45          0.00              0.00        0.00


     vslhol                       VSL Holdings LLC                                                                                                                                                                                                                                 0.00
                                                                                            P-154028      30571        ill      5/25/2022     73090-50 Telephone - Cell Administration
                                                                                                                                                                          veri0001-9907399286A          48.83             48.83          0.00          0.00           0.00         0.00 ILL Wireless Charges 04/26/22-05/25/22 13811-00
                                                                                            P-154083      30573        ill      5/21/2022     73038-50 BW and Color Copies
                                                                                                                                                                         koni1348-5020287413
                                                                                                                                                                           Administration               34.84             34.84          0.00          0.00           0.00         0.00 ILL Contract Konica Minolta 450-9675407-002 / 13811-00
                                                                                            P-154083      30573        ill      5/21/2022     73060-50 Late Fees/Penalties/Srvc
                                                                                                                                                                           koni1348-5020287413
                                                                                                                                                                                Chgs                      1.54             1.54          0.00          0.00           0.00         0.00 Late Charges 5.18.22 13811-00
                                                                                            P-154223      30592        ill      5/31/2022     73036-42 Auto Exp - Other Transportation
                                                                                                                                                                          Wex1197-81276589A             22.15             22.15          0.00          0.00           0.00         0.00 Wex1197-81276589-05/31/2022-Adjustments/Finance Charge ILL 13811-00
                                                                               "            P-116637      24411        ill      11/18/2020    73051-50 Software Support Fees
                                                                                                                                                                          11182020-EngieFeeA
                                                                                                                                                                             Administration           244.60               0.00          0.00          0.00       244.60           0.00 Engie November Software Fee
                                                                               "            P-154010      30563        ill      5/25/2022     74003-60 Gas                   Engie-05252022A         1,146.93        1,146.93            0.00          0.00           0.00         0.00 Engie Consolidated Date 05/25/2022 | Invoice # - 20090350; Atmos Energy/630872/740353 Service period 04/09/2022 - 05/10/2022 13811-00
                                                                               "            P-154013      30564        ill      5/27/2022     74001-60 Water & Sewer         Engie-05272022A         1,248.93        1,248.93            0.00          0.00           0.00         0.00 Engie Consolidated Date 05/27/2022 | Invoice # - 20091339; City of Lewisville TX Service period 04/13/2022 - 05/13/2022 13811-00
                                                                         WC39162122C        P-154180      30587        ill      5/31/2022     64009-50 Worker's CompensationWC39162122C               742.53          742.53             0.00          0.00           0.00         0.00 Premium E499477-05/31/2022 ILL 13811-00
                                                                         WC39162122C        P-154184      30589        ill      5/31/2022     64009-50 Worker's CompensationWC39162122C              1,974.18        1,974.18            0.00          0.00           0.00         0.00 Loss run E499477-05/31/2022 ILL 13811-00
Total vslhol                                                                                                                                                                                        5,464.53        5,219.93           0.00         0.00          244.60          0.00


Grand Total                                                                                                                                                                                       335,499.88       34,300.05      -9,088.45         0.00      310,288.28          0.00




                                                                                                                                                                                                            Page 1 of 1
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                              Inspired Living at Lewisville (ill)

                                  Balance Sheet
                                    Period = May 2022
                              Book = Accrual ; Tree = ysi_bs
                                                                            Current Balance
11000-00   CASH
11001-00   Cash - Operating                                                         105,395.63
11003-00   Cash - Disbursements                                                     645,235.53
11019-00   TOTAL CASH                                                              750,631.16
11060-00   ESCROW
11061-00   Reserve Acct Prop Taxes                                                  250,000.00
11099-00   TOTAL ESCROW                                                            250,000.00
13000-00   ACCOUNTS RECEIVABLE - RESIDENTS
13001-00   A/R - Resident                                                            37,576.37
13009-00   Allowance for Doubtful Accounts - Resident                                 -5,603.13
13010-00   TOTAL ACCOUNTS RECEIVABLE - RESIDENTS                                    31,973.24
13030-00   DUE TO/FROM
13701-00   Due to/from Validus Senior Living REIT IMC LLC                               640.24
13820-00   Due to/from Senior Living VI LLC (ILSL)                                      125.00
13999-00   TOTAL DUE TO/FROM                                                           765.24
14000-00   PREPAID EXPENSES AND OTHER ASSETS
14012-00   Prepaid AHCA                                                                 237.50
14014-00   Prepaid Insurance - Health Care                                           18,396.94
14015-00   Prepaid Insurance Business                                                86,465.83
14016-00   Prepaid Insurance Worker's Comp                                            3,664.48
14022-00   Prepaid Other                                                              3,789.51
14078-00   TOTAL PREPAID EXPENSES AND OTHER ASSETS                                 112,554.26
14080-00   RESTRICTED CASH
14098-00   Utility Deposits                                                           1,049.42
14099-00   TOTAL RESTRICTED CASH                                                     1,049.42
15000-00   FIXED ASSETS
15004-00   Building Improvements                                                    139,480.18
15006-00   Furniture & Fixtures                                                       9,086.37
15007-00   Equipment                                                                178,176.65
15008-00   Vehicles                                                                  71,418.56
15009-00   Computer Hardware                                                         40,351.24
15010-00   Computer Software                                                          2,215.39
15019-00   TOTAL FIXED ASSETS                                                      440,728.39
19099-00   TOTAL ASSETS                                                          1,587,701.71
20001-00   LIABILITIES & CAPITAL
20002-00   LIABILITIES
20005-00   ACCOUNTS PAYABLE
20010-00   Accounts Payable                                                         335,499.88
20021-00   Accrued Accounts Payable                                                 140,045.05
20099-00   TOTAL ACCOUNTS PAYABLE                                                  475,544.93
21000-00   ACCRUED WAGES & BENEFITS
21005-00   Accrued Wages                                                            114,893.48

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                                                                                                         6/22/2022 11:50 AM
                              Inspired Living at Lewisville (ill)

                                  Balance Sheet
                                       Period = May 2022
                              Book = Accrual ; Tree = ysi_bs
                                                                            Current Balance
21010-00   Accrued Vacation                                                          17,585.53
21017-00   Employee Voluntary Life Insurance                                          -1,160.10
21021-00   401K Withholding                                                            2,132.64
21023-00   Short Term/Long Term Disability                                                -5.47
21024-00   Vision / Dental                                                              339.89
21025-00   HSA                                                                          620.80
21029-00   Accrued Off Cycle Wages                                                    -2,070.89
21099-00   TOTAL ACCRUED WAGES & BENEFITS                                          132,335.88
22000-00   ACCRUED EXPENSES
22008-00   Accrued Workers Comp - IBNR                                                     0.03
22017-00   Accrued Contract Services                                                  -1,502.40
22018-00   P-Card Payable                                                              4,015.52
22020-00   Prepaid Rent                                                              70,349.82
22031-00   Miscellaneous Liabilities                                                    -141.39
22039-00   TOTAL ACCRUED EXPENSES                                                   72,721.58
22040-00   ACCRUED PROPERTY TAXES
22042-00   Accrued Property Taxes                                                  2,174,417.08
22049-00   TOTAL ACCRUED PROPERTY TAXES                                          2,174,417.08
23000-00   ACCOUNTS PAYABLE-RELATED PARTY
23002-00   Due to/from Members                                                     2,382,555.40
23098-00   TOTAL ACCOUNTS PAYABLE-RELATED PARTY                                  2,382,555.40
23099-00   TOTAL CURRENT LIABILITIES                                             5,237,574.87
24000-00   SECURITY DEPOSITS
24005-00   Patient / Tenant Refunds                                                    2,396.05
24049-00   TOTAL SECURITY DEPOSITS                                                   2,396.05
30001-00   MEMBERS EQUITY
32025-00   Retained Earnings, Prior                                               -5,101,611.63
32030-00   Retained Earnings, Current                                              1,449,342.42
32099-00   TOTAL MEMBERS EQUITY                                                 -3,652,269.21
39099-00   TOTAL LIABILITIES & CAPITAL                                           1,587,701.71




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